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                                 123253



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s)
__________________________________________
LEROY HARMON

 Civil Case #________________________________
             1:21-cv-06563-RLY-TAB


                               AMENDED SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:
           Leroy Harmon
           ____________________________________________________________________

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:
           N/A
           ____________________________________________________________________

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
           N/A
           ____________________________________________________________________

       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:
           FL
           ____________________________________________________________________




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      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:
          FL
          ____________________________________________________________________

      6. Plaintiff’s/Deceased Party’s current state of residence:
         FL
         _____________________________________________________________________



      7. District Court and Division in which venue would be proper absent direct filing:
         Florida Middle District Court – Ocala, FL
         _____________________________________________________________________



      8. Defendants (Check Defendants against whom Complaint is made):

             ✔       Cook Incorporated

             ✔       Cook Medical LLC

             ✔       William Cook Europe ApS

      9. Basis of Jurisdiction:

             ✔       Diversity of Citizenship

                     Other: ________________________________________________

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
         Venue: Paragraph 27
         _____________________________________________________________________
         Subject Matter Jurisdiction: Paragraph 23
         _____________________________________________________________________
         Personal Jurisdiction: Paragraphs 24 and 26
         _____________________________________________________________________

         b. Other allegations of jurisdiction and venue:

         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________


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      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

                     Günther Tulip® Vena Cava Filter

             ✔       Cook Celect® Vena Cava Filter

                     Gunther Tulip Mreye
                     Cook Celect Platinum
                     Other:
             ___________________________________________________________
      11. Date of Implantation as to each product:
         10/03/2012
         _____________________________________________________________________

         _____________________________________________________________________

      12. Hospital(s) where Plaintiff was implanted (including City and State):
         Leesburg Regional Medical Center - Leesburg, FL
         _____________________________________________________________________

         _____________________________________________________________________

      13. Implanting Physician(s):
         Dr. Pairoj S. Chang
         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

      14. Counts in the Master Complaint brought by Plaintiff(s):

             ✔       Count I:        Strict Products Liability – Failure to Warn

             ✔       Count II:       Strict Products Liability – Design Defect

             ✔       Count III:      Negligence

             ✔       Count IV:       Negligence Per Se

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             ✔          Count V:            Breach of Express Warranty

             ✔          Count VI:           Breach of Implied Warranty
                                                                     FL
             ✔          Count VII:          Violations of Applicable ________________ (insert State)

                        Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

                        Practices

                        Count VIII:         Loss of Consortium

                        Count IX:           Wrongful Death

                        Count X:            Survival

             ✔          Count XI:           Punitive Damages

                        Other:              ___________________ (please state the facts supporting

                        this Count in the space, immediately below)
                                            see below
             ✔          Other:              ___________________ (please state the facts supporting

                        this Count in the space, immediately below)
              Plaintiff incorporates by reference and in full the complaint originally filed in the United States District
             __________________________________________________________________
              Court for the Middle District of Florida on 08/13/2021 (Dkt. 1, 5:21-cv-00414-JSM-PRL).
             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

      15. Attorney for Plaintiff(s):
         Basil E. Adham, Johnson Law Group
         _____________________________________________________________________

      16. Address and bar information for Attorney for Plaintiff(s):




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         Basil E. Adham (TX Bar No. 24081742)
         _____________________________________________________________________
         Johnson Law Group, 2925 Richmond Ave., Suite 1700
         _____________________________________________________________________
         Houston, Texas 77098
         _____________________________________________________________________

                              Respectfully submitted,




                                               /s/ Basil E. Adham

                                              Basil E. Adham
                                              TX Bar No 24081742
                                              Johnson Law Group
                                              2925 Richmond Ave., Suite
                                              1700 Houston, TX 77098
                                              Telephone: (713) 626-9336
                                              Facsimile: (713) 626-3394




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